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BRAUNHAGEY & BORDEN LLP
Mitchell C. Stein, Esq. (NJ Bar No. 040751988)
    stein@braunhagey.com
Pratik K. Raj Ghosh, Esq. (admitted pro hac vice)
    ghosh@braunhagey.com
118 West 22nd Street, 12th Floor
New York, NY 10011
Tel: (646) 829-9403

David H. Kwasniewski, Esq. (admitted pro hac vice)
    kwasniewski@braunhagey.com
351 California Street, 10th Floor
San Francisco, CA 94104
Tel: (415) 599-0210

Attorneys for B&G Foods, Inc.

                             UNITED STATES DISTRICT COURT

                                 DISTRICT OF NEW JERSEY

                                                      Case No.: 2:22-CV-01338-SDW-JSA

PATRICIA DEAN, JOHN GALLOWAY,                         DECLARATION OF PRATIK K. RAJ
and BRIAN BLASSINGAME, individually                   GHOSH, ESQ. IN SUPPORT OF
and on behalf of all others similarly situated,       DEFENDANT B&G FOODS, INC.’S
                                                      MOTION TO DISMISS PLAINTIFFS’
               Plaintiffs,                            FIRST AMENDED CLASS ACTION
                                                      COMPLAINT
       v.

B&G FOODS, INC.,                                      Motion Date: July 18, 2022

               Defendant.                             [Motion to Dismiss, Request for Judicial
                                                      Notice, and [Proposed] Orders Filed
                                                      Concurrently Herewith]




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       I, Pratik K. Raj Ghosh, Esq., declare:

       1.      I am counsel of record for Defendant B&G Foods, Inc. (“B&G Foods”) in the

above-captioned action. I make this declaration based on personal knowledge. If called as a

witness, I could, and would, testify competently to the facts stated herein.

       2.      Attached as Exhibit A is a true and correct copy of the complaint that Plaintiffs’

counsel filed—and shortly thereafter withdrew—on behalf of Brian Blassingame in the Northern

District of California. Much of the original complaint in the instant litigation is copied verbatim

from the complaint in the now-dismissed Blassingame action.

       3.      Attached as Exhibit B is a true and correct copy of an email thread between

myself and Kevin Laukaitis, Esq., counsel for Plaintiffs, regarding Plaintiffs’ request for an

extension to amend their complaint.

       I declare under penalty of perjury that the foregoing is true and accurate.

Dated: June 14, 2022                            Respectfully submitted,

                                                By: s/ Pratik Ghosh
                                                    Pratik K. Raj Ghosh, Esq.*
                                                    BRAUNHAGEY & BORDEN LLP
                                                        ghosh@braunhagey.com
                                                    118 West 22nd Street, 12th Floor
                                                    New York, New York 10011
                                                    Tel: (646) 829-9403

                                                       Attorney for B&G Foods, Inc.

                                                       *admitted pro hac vice




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